                    UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF MISSISSIPPI
                          JACKSON DIVISION


ESTATE OF CHARLES L. WEST,
DECEASED                                                     PLAINTIFF


VS.                                 CIVIL ACTION NO. 3:07CV581TSL-JCS


UNITED STATES OF AMERICA                                     DEFENDANT


                              JUDGMENT

      In accordance with the memorandum opinion and order entered

by the court this date, it is ordered and adjudged that plaintiff

Estate of Charles L. West, deceased, shall have and recover from

defendant United States of America, actual damages in the amount

of $249,054.13, and noneconomic damages in the amount of $500,000,

for a total award of $749,054.13.

      SO ORDERED AND ADJUDGED this 20th day of July, 2009.



                                /s/ Tom S. Lee
                                 UNITED STATES DISTRICT JUDGE
